 Case 1:19-cr-00260-TSE Document 176 Filed 11/05/20 Page 1 of 3 PageID# 1290




                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         EASTERN DISTRICT OF VIRGINIA

UNITED STATES OF AMERICA


v.
                                                     Case No. 1:19-cr-260

                                                     The Honorable T.S. Ellis

FREDY FABIAN ALFARO




    DEFENDANT’S MOTION TO JOIN AND ADOPT THE REASONING AND
ARGUMENTS OF CO-DEFENDANT JIMMY MCCRAY’S ADDENDUM TO POSITION
                 WITH RESPECT TO SENTENCING

       Defendant Fredy Fabian Alfaro respectfully moves to join and adopt the reasoning and

arguments presented in co-defendant Jimmy McCray’s Addendum to Position with Respect to

Sentencing (Doc. No. 174). In the co-defendant’s addendum, he argues that the second degree

murder guideline should apply to this matter. Both defendants are charged with and pled guilty

to the same offenses (i.e. violations of 21 U.S.C. § § 841 and 846 (j) and 18 U.S.C. §§ 924(j)),

agreed to the same essential facts, and the arguments made by co-defendant McCray are likewise

applicable to Mr. Alfaro’s sentencing guidelines’ determination.

       Based on the foregoing, in addition the arguments in Defendant’s Position on Sentencing

(Doc. No. 169) concerning the application of the second degree murder guideline, he respectfully

requests that his motion be granted. A proposed order is attached.

                                             Respectfully submitted,
                                             FREDY FABIAN ALFARO
                                             By counsel
Case 1:19-cr-00260-TSE Document 176 Filed 11/05/20 Page 2 of 3 PageID# 1291




    /s/
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Case 1:19-cr-00260-TSE Document 176 Filed 11/05/20 Page 3 of 3 PageID# 1292




                                CERTIFICATE OF SERVICE

      I hereby certify that a copy of this pleading and proposed order were filed through the
ECF system this 5th day of November, 2020, which will provide notice to counsel of record.




                                                        /s/ Joseph King
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